          Case 2:14-cv-07249-CJC-FFM Document 423 Filed 12/17/20 Page 1 of 20 Page ID #:6960



                     1     MARK KRUSPODIN, CPA
                           DUFFY KRUSPODIN, LLP
                     2     Certified Public Accountants
                           21600 Oxnard Street, Suite 2000
                     3     Woodland Hills, Ca. 91367-4969
                           Phone: (818) 385-0585
                     4     Fax: (818) 436-7588
                           E-Mail: mkruspodin@dkllpcpa.com
                     5
                     6     Tax Accountants for Receiver
                           AARON J. KUDLA
                     7
                     8                        UNITED STATES DISTRICT COURT
                     9                      CENTRAL DISTRICT OF CALIFORNIA
                   10
                   11 SECURITIES AND EXCHANGE                Case No. CV-14-07249-CJC-FFM
                      COMMISSION,
                   12                                        FINAL APPLICATION OF DUFFY
                               Plaintiff,                    KRUSPODIN LLP, CERTIFIED
                   13                                        PUBLIC ACCOUNTANT TO THE
                          v.                                 RECEIVER FOR PAYMENT OF
                   14                                        FEES AND REIMBURSEMENT OF
                      NATIONWIDE AUTOMATED                   EXPENSES
                   15 SYSTEMS, INC.; JOEL GILLIS; and
                      EDWARD WISHNER,                        Date:     January 25, 2021
                   16                                        Time:     1:30 p.m.
                               Defendants,                   Ctrm:     9B
                   17                                        Judge:    Hon. Cormac J. Carney
                      OASIS STUDIO RENTALS, LLC;
                   18 OASIS STUDIO RENTALS #2, LLC; and
                      OASIS STUDIO RENTALS #3, LLC,
                   19
                               Relief Defendants.
                   20
                   21
                   22
                   23
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                   25
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                   27
                   28
     LAW OFFICES
 Duffy Kruspodin Leck
Gamble Mallory & Natsis
          LLP
                          904637.01/SD
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                     1              Duffy Kruspodin, LLP ("Duffy Kruspodin"), tax accountants to Aaron J.
                     2 Kudla ("Receiver"), the Court-appointed permanent receiver for Defendant
                     3 Nationwide Automated Systems, Inc. ("NASI"), Relief Defendants Oasis Studio
                     4 Rentals, LLC, Oasis Studio Rentals #2, LLC, and Oasis Studio Rentals #3, LLC, and
                     5 their subsidiaries and affiliates (collectively, "Receivership Entities"), hereby submits
                     6 this final application for approval and payment of fees and reimbursement of
                     7 expenses ("Application"). This Application is filed concurrently with the Receiver's
                     8 Motion to Conclude the Receivership ("Motion to Conclude"), as well as the
                     9 Receiver's final fee application.
                   10               Duffy Kruspodin seeks approval of the total fees and costs incurred by the firm
                   11 for the receivership in the amount of $121,450.78, which includes the following:
                   12               •     Approval and payment of fees and costs incurred during the Twelve-and
                   13                     ½ month period from September 17, 2019 through September 30, 2020
                   14                     ("Final Application Period") of $13,982.40.
                   15               •     Final approval of its five interim fee applications1 and of the $65,974.71
                   16                     previously paid in connection with those applications;
                   17               •     Approval and payment of fees held back from Duffy Kruspodin' five
                   18                     interim fee applications in the total amount of $16,493.67 ("Holdback
                   19                     Amount"); and
                   20               •     Approval of estimated fees and costs of up to $25,000.00 for remaining
                   21                     tax and accounting work to conclude the receivership, including work
                   22                     during September 2020 on the Receiver's Motion to Conclude and work
                   23                     to assist the Receiver with tasks remaining to close the receivership.
                   24
                   25
                   26
                   27     1
                       Duffy Kruspodin' five interim fee applications, along with bills reflecting the work
                      performed during each period can be found at Dkt. Nos. 103, 192, 231, 302, 375 and
                   28
                      are incorporated herein by this reference.
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                     1                                     I.    INTRODUCTION
                     2              This equity receivership involves a large and complex Ponzi scheme that is the
                     3 subject of the Complaint filed by the Securities and Exchange Commission
                     4 ("Commission"). The former receiver, William Hoffman of Trigild, Inc., was
                     5 appointed on a temporary basis on September 30, 2014, and on a permanent basis on
                     6 October 29, 2014. Due to Mr. Hoffman's retirement, he was fully discharged as
                     7 receiver on February 24, 2020, and Mr. Kudla (also of Trigild, Inc.) was appointed
                     8 successor receiver. Dkt. 383.
                     9              The appointment orders confer broad duties, responsibilities, and powers on
                   10 the Receiver which are designed to allow him to secure, preserve, and protect the
                   11 assets of the Receivership Entities, investigate and recover sums transferred to third
                   12 parties, conduct a forensic accounting and analysis of the Receivership Entities'
                   13 financial transactions, review and analyze investor claims, and maximize the amount
                   14 ultimately available for distribution to investors. The appointment orders also
                   15 authorize the Receiver to engage professionals to assist him in the performance of his
                   16 duties. The Receiver promptly determined that an experienced, qualified tax
                   17 accountant was critical due to the size and complexity of the receivership estate.
                   18 Accordingly, the Receiver engaged Duffy Kruspodin to assist with urgent accounting
                   19 and tax issues facing the receivership estate and the firm began work in January
                   20 2015, including assisting with the preparation of income tax returns.
                   21                              II.   FINAL APPLICATION PERIOD
                   22               The fees incurred by Duffy Kruspodin during the Final Application Period (a
                   23 Twelve- and 1/2-month period) total $13,982.40 in fees for a total of 54.40 hours
                   24 worked.
                   25               The hours and fees for each of the Receivership Entities are as follows:
                   26                    COMPANY NAME/DESCRIPTION                 HOURS          AMOUNT
                                     QUALIFIED SETTLEMENT FUND
                   27
                                     Gathering of required information and
                   28                preparation of 2019 income tax returns
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                     1                                                              23.80         $7,149.50
                                     NATIONWIDE AUTOMATED SYSTEMS, INC.
                     2
                                     Gathering of required information and
                     3               preparation of 2019 income tax return          15.30         $4,008.50
                     4               OASIS STUDIO RENTALS, LLC

                     5               Gathering of required information and
                                     preparation of 2019 income tax return            8.70        $2,428.50
                     6
                                     OASIS STUDIO RENTALS 2, LLC
                     7               Gathering of required information and
                     8               preparation of 2019 income tax return            3.40          $983.50
                                     OASIS STUDIO RENTALS 3, LLC
                     9
                                     Gathering of required information and
                   10                preparation of 2019 income tax return           3.20           $966.00
                   11                Total Fees                                     54.40        $15,536.00
                   12                Less: 10% discount                                          -$1,553.60
                                     Discounted fees                                             $13,982.40
                   13
                   14
                                III.     SUMMARY OF TASKS PERFORMED AND COSTS INCURRED
                   15
                                    A.    Categories and Descriptions of Work
                   16
                                          1.     Gathering of information, adjusting journal entries, generating
                   17
                                                 financial reports, and preparation of income tax returns, and
                   18
                                                 technical tax research.
                   19
                                    Duffy Kruspodin has been working with the Receiver's office to assist with
                   20
                          reconstruction of accounting records to produce a set of financial reports, make
                   21
                          appropriate journal entries to close out the books for the year end, prepare income tax
                   22
                          returns, and research various technical tax issues for the above five entities.
                   23
                   24                                  HOURS               FEES       AVERAGE RATE
                   25                    TOTAL            54.40      $13,982.40              $257

                   26
                   27
                   28
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                     1           IV.     APPROVAL OF PRIOR INTERIM FEE APPLICATIONS AND
                     2                                  PAYMENT OF HOLDBACKS
                     3              Duffy Kruspodin respectfully requests that the Court grant final approval of
                     4 the its five interim fee applications and that the Receiver be authorized to pay the
                     5 amounts held back from those five interim fee applications as follows:
                     6                FEE                  FEES               INTERIM 80%            20%
                     7            APPLICATION            INCURRED               PAYMENT           HOLDBACK
                     8          First                         $12,735.00            $10,188.00          $2,547.00
                                Second                        $26,464.95            $21,171.96          $5,292.99
                     9
                                Third                         $13,011.47            $10,409.18          $2,602.29
                   10
                                Fourth                        $16,412.13            $13,129.70          $3,282.43
                   11           Fifth                         $13,844.83            $11,075.87          $2,768.96
                   12           TOTAL                         $82,468.38            $65,974.71         $16,493.67
                   13
                   14                       V.    THE FEES AND COSTS ARE REASONABLE
                   15                                  AND SHOULD BE ALLOWED
                   16               "As a general rule, the expenses and fees of a receivership are a charge upon
                   17 the property administered." Gaskill v. Gordon, 27 F.3d 248, 251 (7th Cir. 1994).
                   18 These expenses include the fees and expenses of this Receiver and his professionals,
                   19 including Duffy Kruspodin. Decisions regarding the timing and amount of an award
                   20 of fees and costs to the Receiver and his Professionals are committed to the sound
                   21 discretion of the Court. See SEC v. Elliot, 953 F.2d 1560, 1577 (11th Cir. 1992).
                   22               In allowing fees, a court should consider "the time, labor and skill required,
                   23 but not necessarily that actually expended, in the proper performance of the duties
                   24 imposed by the court upon the receiver[], the fair value of such time, labor and skill
                   25 measured by conservative business standards, the degree of activity, integrity and
                   26 dispatch with which the work is conducted and the result obtained." United States v.
                   27 Code Prods. Corp., 362 F. 2d 669, 673 (3d Cir. 1966) (internal quotation marks
                   28 omitted). In practical terms, receiver and professional compensation thus ultimately
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                     1 rests upon the result of an equitable, multi-factor balancing test involving the
                     2 "economy of administration, the burden that the estate may be able to bear, the
                     3 amount of time required, although not necessarily expended, and the overall value of
                     4 the services to the estate." In re Imperial 400 Nat'l, Inc., 432 F.2d 232, 237 (3d Cir.
                     5 1970). Regardless of how this balancing test is formulated, no single factor is
                     6 determinative and "a reasonable fee is based [upon] all circumstances surrounding
                     7 the receivership." SEC v. W.L. Moody & Co., Bankers (Unincorporated), 374 F.
                     8 Supp. 465, 480 (S.D. Tex. 1974).
                     9              As a preliminary matter, the TRO and Preliminary Injunction Order confer on
                   10 the Receiver substantial duties and powers, including to conduct such investigation
                   11 and discovery as is necessary to locate and account for all receivership assets, take
                   12 such action as is necessary and appropriate to assume control over and preserve
                   13 receivership assets, and employ attorneys and others to investigate and, where
                   14 appropriate, institute, pursue, and prosecute all claims and causes of action of
                   15 whatever kind and nature. See Dkt. No. 17 (TRO, Part XIII); Dkt. No. 42
                   16 (Preliminary Injunction Order, Part XII). The Receiver promptly determined that an
                   17 experienced, qualified tax accountant was necessary due to the size and complexity
                   18 of the receivership estate.
                   19               Duffy Kruspodin has submitted a detailed fee application which describes the
                   20 nature of the services rendered, and the identity and billing rate of each individual
                   21 performing each task. Bills reflecting the task, timekeepers, rate, hours, and charge
                   22 for each task are attached hereto as Exhibit A. Duffy Kruspodin has endeavored to
                   23 staff matters as efficiently as possible while remaining cognizant of the complexity
                   24 of issues presented. The request for fees is based on Duffy Kruspodin's customary
                   25 billing rates charged for comparable services provided in other matters, less a 10%
                   26 discount.
                   27
                   28
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Gamble Mallory & Natsis
          LLP
                          904637.01/SD                                -6-
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                     1              The work performed by Duffy Kruspodin was essential to carrying out the
                     2 Receiver's Court-ordered duties. The Receiver and Duffy Kruspodin have worked
                     3 diligently since January 2015 to prepare timely filed income tax returns.
                     4                                      VI.   CONCLUSION
                     5              Duffy Kruspodin therefore respectfully requests this Court enter an Order:
                     6              1.    Approving Duffy Kruspodin's fees and costs for the receivership in the
                     7 amount $121,450.78 including:
                     8                    a.    Approval and authority to pay fees of $13,982.40 for the Final
                     9 Application Period;
                   10                     b.    Approval, on a final basis of the $65,974.71 of fees paid to Duffy
                   11 Kruspodin pursuant to its five interim fee applications;
                   12                     c.    Approval and authority to pay fees held back from Duffy
                   13 Kruspodin five fee applications in the amount of $16,493.67.
                   14                     d.    Approval and authority to pay projected fees and costs from the
                   15 reserve in an amount up to $25,000.00 to complete the tax and accounting tasks
                   16 remaining to conclude the receivership; and
                   17               2.    For such other and further relief as the Court deems appropriate.
                   18
                   19 Dated: December 17, 2020                              DUFFY KRUSPODIN, LLP
                   20                                                  By:
                                                                             Mark Kruspodin, CPA
                   21
                   22
                   23
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                   27
                   28
     LAW OFFICES
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Gamble Mallory & Natsis
         LLP
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                      EXHIBIT A
                                                                Exhibit A, Page 8
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                                    21600 Oxnard Street, Suite 2000
                                    Woodland Hills, CA 91367-4969
                                PHONE: (818) 385-0585 FAX: (818) 436-7588


 Qualified Settlement Fund Over Nasi                               Date               11/30/2020
 9339 Genesee Ave Ste 130
 #130
 San Diego, CA 92121
                                                                   Invoice No.        433143
                                                                   Client No.         QUAL01




     Date         Service Code Name            Staff                                Hours        Rate    Amount

 QUALIFIED SETTLEMENT FUND OVER NASI
    09/25/2019 OTHER CLERICAL               Ambartsumyan, Lusine                      0.30 $120.00        $36.00
               Draft court papers and invoices

     03/13/2020   EXTENSION OF TIME TO Cox, CPA, David (DC1)                          0.30 $415.00       $124.50
                  FILE
                  Review Extension Filing Requirements

     06/02/2020   TAX PREP -                Sawiris, Jackie                           0.10 $290.00        $29.00
                  INTERVIEW/REQUEST
                  INFO
                  Correspondence regarding 2019 tax return

     06/02/2020   OTHER CLERICAL               Ambartsumyan, Lusine                   0.30 $120.00        $36.00
                  Save 2019 tax workpapers

     07/03/2020   EXTENSION OF TIME TO Sawiris, Jackie                                0.10 $290.00        $29.00
                  FILE
                  Correspondence regarding 2019 extension

     07/08/2020   TAX REVIEW                   Cox, CPA, David (DC1)                  0.30 $415.00       $124.50
                  Review Tax Return

     07/10/2020   EXTENSION OF TIME TO Sawiris, Jackie                                0.40 $290.00       $116.00
                  FILE
                  Prepared manual Form 7004 for 2019 tax return and
                  requested to be mailed. Saved copy of form in tax file.

       0-30             31-60               61-90             91-120             Over 120           Balance
    $7,152.50           $0.00               $0.00              $0.00             $9,459.68         $16,612.18

   INVOICES ARE PAYABLE UPON RECEIPT. FINANCE CHARGES WILL BE ASSESSED ON BALANCES
                                  OVER 60 DAYS OLD.

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            INVOICE OR YOU MAY CALL THE OFFICE AND USE VISA, MASTERCARD OR
                                  AMERICAN EXPRESS.

                                THANK YOU FOR YOUR PROMPT PAYMENT.
                                                                                             Exhibit A, Page 9
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DUFFY KRUSPODIN, LLP              #:6969
Qualified Settlement Fund Over Nasi
Invoice No. 433143                                                                 Page No. 2


    07/10/2020   ESTATE & TRUST TAX           Justl, CPA, Mike                      0.20 $185.00     $37.00
                 PREP.
                 review data

    07/13/2020   C-CORPORATION                Justl, CPA, Mike                      1.60 $185.00    $296.00
                 2019 Fiduciary Tax Return

    07/13/2020   C-CORPORATION                Justl, CPA, Mike                      0.10 $185.00     $18.50
                 2019 Fiduciary Tax Return

    07/13/2020   C-CORPORATION                Justl, CPA, Mike                      0.20 $185.00     $37.00
                 2019 Fiduciary Tax Return

    07/21/2020   TAX REVIEW                   Cox, CPA, David (DC1)                 0.30 $415.00    $124.50
                 Review Tax Return

    07/30/2020   C-CORPORATION                  Justl, CPA, Mike                    0.40 $185.00     $74.00
                 contact technical to move file, attempt made but IT decided
                 that it can not be done

    07/31/2020   C-CORPORATION                 Justl, CPA, Mike                     2.00 $185.00    $370.00
                 2019 Corporation Tax Return; also to change to corp software
                 required additional channels to move

    08/03/2020   C-CORPORATION                Justl, CPA, Mike                      0.90 $185.00    $166.50
    08/21/2020   TAX REVIEW                   Cox, CPA, David (DC1)                 0.60 $415.00    $249.00
                 Review Tax Return

    08/25/2020   TAX RESEARCH                 Cox, CPA, David (DC1)                 1.20 $415.00    $498.00
                 Research Taxation of Distributions

    08/28/2020   TAX RESEARCH                 Cox, CPA, David (DC1)                 0.50 $415.00    $207.50
                 Additional Research on Distribution reporting

    08/31/2020   TAX RESEARCH                  Cox, CPA, David (DC1)                0.20 $415.00     $83.00
                 Email to Kudla on Distributions

    09/01/2020   C-CORPORATION               Justl, CPA, Mike                       2.20 $185.00    $407.00
                 2019 Corporation Tax Return

    09/01/2020   C-CORPORATION               Justl, CPA, Mike                       2.20 $185.00    $407.00
                 2019 Corporation Tax Return

    09/03/2020   TAX REVIEW                   Cox, CPA, David (DC1)                 1.00 $415.00    $415.00
                 Review Tax Return

    09/09/2020   C-CORPORATION               Justl, CPA, Mike                        0.10 $185.00     $18.50
      0-30            31-60               61-90            91-120              Over 120         Balance
   $7,152.50          $0.00               $0.00             $0.00              $9,459.68       $16,612.18

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                                 OVER 60 DAYS OLD.

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                                                                                       Exhibit A, Page 10
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DUFFY KRUSPODIN, LLP              #:6970
Qualified Settlement Fund Over Nasi
Invoice No. 433143                                                               Page No. 3

                 2019 Corporation Tax Return

    09/14/2020   C-CORPORATION               Justl, CPA, Mike                     0.20 $185.00        $37.00
                 2019 Corporation Tax Return

    09/23/2020   TAX REVIEW                    Cox, CPA, David (DC1)              1.90 $415.00       $788.50
                 Review Tax Return

    09/24/2020   TAX REVIEW                   Cox, CPA, David (DC1)               4.70 $415.00      $1,950.50
                 Review Tax Return, Enter Prior Year Fed & CA Net Operating
                 Loss Carryover Information, Prepare Custom Transmittal
                 Letter, Clear Diagnostics, Review Reporting of Distributions,
                 Update Balance Sheet, Analyze Electronic Filing Restrictions
                 on QSF Returns, Review Proforma Carryover Information

    09/27/2020   TAX REVIEW                  Kruspodin, CPA, Mark (MK1)           0.80 $535.00       $428.00
                 Technical review of 2019 Corporation Tax Return

    09/29/2020   ASSEMBLY                  Quick, Joseph                          0.40 $105.00        $42.00
                 Assembled 2019 income tax return

    09/30/2020   POSTAGE                      Estevez, Carlos                                          $3.00
                 The cost of postage for a package

                                      Subtotal for: QUALIFIED SETTLEMENT FUND OVER NASI             $7,152.50

                                                                                   Invoice Total:   $7,152.50




      0-30             31-60              61-90             91-120           Over 120          Balance
   $7,152.50           $0.00              $0.00              $0.00           $9,459.68        $16,612.18

  INVOICES ARE PAYABLE UPON RECEIPT. FINANCE CHARGES WILL BE ASSESSED ON BALANCES
                                 OVER 60 DAYS OLD.

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           INVOICE OR YOU MAY CALL THE OFFICE AND USE VISA, MASTERCARD OR
                                 AMERICAN EXPRESS.

                               THANK YOU FOR YOUR PROMPT PAYMENT.
                                                                                     Exhibit A, Page 11
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                                  #:6971




                                   21600 Oxnard Street, Suite 2000
                                   Woodland Hills, CA 91367-4969
                               PHONE: (818) 385-0585 FAX: (818) 436-7588


Nationwide Automated Systems, Inc.                              Date               11/30/2020
9339 Genesee Ave. Suite 130
San Diego, CA 92121

                                                                Invoice No.        433159
                                                                Client No.         NASI01




    Date         Service Code Name           Staff                                Hours     Rate     Amount

NASI NATIONWIDE AUTOMATED SYSTEMS, INC.
   09/25/2019 OTHER CLERICAL               Ambartsumyan, Lusine                     0.30 $120.00       $36.00
              Draft court papers and invoices

    03/13/2020   ESTIMATED TAXES            Sawiris, Jackie                         0.30 $290.00       $87.00
                 Correspondence regarding 2019 extension and 2020
                 estimated tax. Prepared 2020 estimated tax voucher and sent
                 to client

    06/02/2020   TAX PREP -                Sawiris, Jackie                          0.10 $290.00       $29.00
                 INTERVIEW/REQUEST
                 INFO
                 Correspondence regarding 2019 tax return

    06/02/2020   OTHER CLERICAL              Ambartsumyan, Lusine                   0.30 $120.00       $36.00
                 Save 2019 tax workpapers

    06/02/2020   C-CORPORATION               Justl, CPA, Mike                       1.50 $185.00      $277.50
                 2019 Corporation Tax Return

    06/02/2020   TAX REVIEW               Cox, CPA, David (DC1)                     0.30 $415.00      $124.50
                 Review Tax Documentation

    06/03/2020   C-CORPORATION              Justl, CPA, Mike                        0.80 $185.00      $148.00
                 2019 Corporation Tax Return, email to client

    06/03/2020   TAX REVIEW                  Cox, CPA, David (DC1)                  0.20 $415.00       $83.00

      0-30             31-60             61-90            91-120               Over 120          Balance
   $4,008.50           $0.00             $0.00             $0.00              $19,855.97        $23,864.47

  INVOICES ARE PAYABLE UPON RECEIPT. FINANCE CHARGES WILL BE ASSESSED ON BALANCES
                                 OVER 60 DAYS OLD.

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                                AMERICAN EXPRESS.

                               THANK YOU FOR YOUR PROMPT PAYMENT.
                                                                                      Exhibit A, Page 12
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DUFFY KRUSPODIN, LLP              #:6972
Nationwide Automated Systems, Inc.
Invoice No. 433159                                                             Page No. 2

                 Review questions on asset disposition

    06/04/2020   C-CORPORATION               Justl, CPA, Mike                   2.50 $185.00      $462.50
                 2019 Corporation Tax Return

    06/09/2020   C-CORPORATION                Justl, CPA, Mike                  0.40 $185.00       $74.00
                 enter data in engagment

    06/15/2020   C-CORPORATION               Justl, CPA, Mike                   0.80 $185.00      $148.00
                 2019 Corporation Tax Return

    07/03/2020   EXTENSION OF TIME TO Sawiris, Jackie                           0.10 $290.00       $29.00
                 FILE
                 Correspondence regarding 2019 extension

    07/05/2020   TAX REVIEW                   Cox, CPA, David (DC1)             0.20 $415.00       $83.00
                 Review Workpapers

    07/10/2020   EXTENSION OF TIME TO Sawiris, Jackie                           0.30 $290.00       $87.00
                 FILE
                 Prepared and e-filed extension. Saved copy in tax file

    08/06/2020   C-CORPORATION                Justl, CPA, Mike                  2.10 $185.00      $388.50
    08/07/2020   TAX REVIEW                   Cox, CPA, David (DC1)             1.00 $415.00      $415.00
                 Review Tax Return

    08/10/2020   TAX REVIEW                   Cox, CPA, David (DC1)             0.90 $415.00      $373.50
                 Review Tax Return

    08/11/2020   TAX REVIEW                   Cox, CPA, David (DC1)             1.70 $415.00      $705.50
                 Review Tax Return

    08/16/2020   TAX REVIEW                  Kruspodin, CPA, Mark (MK1)         0.60 $535.00      $321.00
                 Technical review of 2019 Corporation Tax Return

    08/17/2020   ASSEMBLY                  Quick, Joseph                        0.40 $105.00       $42.00
                 Assembled 2019 income tax return

    09/14/2020   EFILE                        Griner, Patti                     0.20 $195.00       $39.00
                 ACKNOWLEDGEMENTS
                 Process efile

    09/14/2020   EFILE                        Griner, Patti                     0.10 $195.00       $19.50
                 ACKNOWLEDGEMENTS
                 Efile acceptance

                                 Subtotal for: NASI NATIONWIDE AUTOMATED SYSTEMS, INC.          $4,008.50

      0-30             31-60               61-90              91-120       Over 120          Balance
   $4,008.50           $0.00               $0.00               $0.00      $19,855.97        $23,864.47

  INVOICES ARE PAYABLE UPON RECEIPT. FINANCE CHARGES WILL BE ASSESSED ON BALANCES
                                 OVER 60 DAYS OLD.

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                                AMERICAN EXPRESS.

                               THANK YOU FOR YOUR PROMPT PAYMENT.
                                                                                  Exhibit A, Page 13
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DUFFY KRUSPODIN, LLP              #:6973
Nationwide Automated Systems, Inc.
Invoice No. 433159                                                  Page No. 3

                                                                     Invoice Total:   $4,008.50




      0-30             31-60           61-90        91-120      Over 120          Balance
   $4,008.50           $0.00           $0.00         $0.00     $19,855.97        $23,864.47

  INVOICES ARE PAYABLE UPON RECEIPT. FINANCE CHARGES WILL BE ASSESSED ON BALANCES
                                 OVER 60 DAYS OLD.

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                                                                       Exhibit A, Page 14
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                                  #:6974




                                   21600 Oxnard Street, Suite 2000
                                   Woodland Hills, CA 91367-4969
                               PHONE: (818) 385-0585 FAX: (818) 436-7588


Oasis Studio Rental, LLC                                        Date               11/30/2020
9339 Genesee Ave. Suite 130
San Diego, CA 92121

                                                                Invoice No.        433160
                                                                Client No.         OASI01




    Date         Service Code Name           Staff                               Hours      Rate     Amount

OASIS STUDIO RENTAL, LLC
   09/25/2019 OTHER CLERICAL               Ambartsumyan, Lusine                    0.30 $120.00       $36.00
              Draft court papers and invoices

    03/12/2020   EXTENSION OF TIME TO Sawiris, Jackie                              0.20 $290.00       $58.00
                 FILE
                 Prepared and e-filed 2019 extension

    03/12/2020   ESTIMATED TAXES             Sawiris, Jackie                       0.20 $290.00       $58.00
                 Prepared and sent 2020 estimated tax voucher to client

    06/02/2020   TAX PREP -                Sawiris, Jackie                         0.10 $290.00       $29.00
                 INTERVIEW/REQUEST
                 INFO
                 Correspondence regarding 2019 tax return

    06/02/2020   OTHER CLERICAL              Ambartsumyan, Lusine                  0.30 $120.00       $36.00
                 Save 2019 tax workpapers

    07/07/2020   PARTNERSHIPS & LLC'S Justl, CPA, Mike                             0.90 $185.00      $166.50
                 2019 Partnership Tax Return

    07/10/2020   PARTNERSHIPS & LLC'S Justl, CPA, Mike                             0.10 $185.00       $18.50
                 2019 Partnership Tax Return

    07/10/2020   PARTNERSHIPS & LLC'S Justl, CPA, Mike                             1.20 $185.00      $222.00
                 2019 Partnership Tax Return

      0-30             31-60              61-90            91-120             Over 120           Balance
   $2,428.50           $0.00              $0.00             $0.00             $2,520.85         $4,949.35

  INVOICES ARE PAYABLE UPON RECEIPT. FINANCE CHARGES WILL BE ASSESSED ON BALANCES
                                 OVER 60 DAYS OLD.

   FOR YOUR CONVENIENCE, PLEASE VISIT OUR WEBSITE WWW.DKLLPCPA.COM TO PAY YOUR
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                                                                                      Exhibit A, Page 15
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DUFFY KRUSPODIN, LLP              #:6975
Oasis Studio Rental, LLC
Invoice No. 433160                                                            Page No. 2


    08/05/2020   PARTNERSHIPS & LLC'S      Justl, CPA, Mike                    0.20 $185.00        $37.00
                 set up on cch

    08/20/2020   PARTNERSHIPS & LLC'S Justl, CPA, Mike                         0.60 $185.00       $111.00
                 2019 Partnership Tax Return

    08/20/2020   PARTNERSHIPS & LLC'S Justl, CPA, Mike                         0.10 $185.00        $18.50
                 2019 Partnership Tax Return

    08/20/2020   PARTNERSHIPS & LLC'S Justl, CPA, Mike                         0.20 $185.00        $37.00
                 2019 Partnership Tax Return

    08/20/2020   TAX REVIEW                Cox, CPA, David (DC1)               0.90 $415.00       $373.50
                 Review Tax Return

    08/21/2020   TAX REVIEW                Cox, CPA, David (DC1)               2.20 $415.00       $913.00
                 Review Tax Return

    08/22/2020   TAX REVIEW                  Kruspodin, CPA, Mark (MK1)        0.40 $535.00       $214.00
                 Technical review of 2019 Partnership Tax Return

    08/24/2020   ASSEMBLY                  Quick, Joseph                       0.40 $105.00        $42.00
                 Assembled 2019 income tax return

    09/10/2020   EFILE                     Griner, Patti                       0.20 $195.00        $39.00
                 ACKNOWLEDGEMENTS
                 Process efile

    09/10/2020   EFILE                     Griner, Patti                       0.10 $195.00        $19.50
                 ACKNOWLEDGEMENTS
                 Efile acceptance

                                                    Subtotal for: OASIS STUDIO RENTAL, LLC       $2,428.50

                                                                                Invoice Total:   $2,428.50




      0-30             31-60            61-90              91-120         Over 120           Balance
   $2,428.50           $0.00            $0.00               $0.00         $2,520.85         $4,949.35

  INVOICES ARE PAYABLE UPON RECEIPT. FINANCE CHARGES WILL BE ASSESSED ON BALANCES
                                 OVER 60 DAYS OLD.

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                               THANK YOU FOR YOUR PROMPT PAYMENT.
                                                                                  Exhibit A, Page 16
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                                  #:6976




                                   21600 Oxnard Street, Suite 2000
                                   Woodland Hills, CA 91367-4969
                               PHONE: (818) 385-0585 FAX: (818) 436-7588


Oasis Studio Rentals 2, LLC                                     Date               11/30/2020
9339 Genesee Ave. Suite 130
San Diego, CA 92121

                                                                Invoice No.        433161
                                                                Client No.         OASI02




    Date         Service Code Name            Staff                                Hours        Rate   Amount

OASIS STUDIO RENTALS 2, LLC
   09/25/2019 OTHER CLERICAL                Ambartsumyan, Lusine                     0.30 $120.00       $36.00
              Draft court papers and invoices

    03/12/2020   EXTENSION OF TIME TO         Sawiris, Jackie                        0.20 $290.00       $58.00
                 FILE
                 Prepared and e-filed 2019 extension

    03/12/2020   ESTIMATED TAXES             Sawiris, Jackie                         0.20 $290.00       $58.00
                 Prepared and sent 2020 estimated tax voucher to client

    06/02/2020   TAX PREP -                 Sawiris, Jackie                          0.10 $290.00       $29.00
                 INTERVIEW/REQUEST
                 INFO
                 Correspondence regarding 2019 tax return

    08/20/2020   PARTNERSHIPS & LLC'S        Justl, CPA, Mike                        0.30 $185.00       $55.50
                 2019 Partnership Tax Return

    08/20/2020   TAX REVIEW                   Cox, CPA, David (DC1)                  0.30 $415.00      $124.50
                 Review Tax Return

    08/21/2020   TAX REVIEW                   Cox, CPA, David (DC1)                  1.00 $415.00      $415.00
                 Review Tax Return

    08/22/2020   TAX REVIEW                   Kruspodin, CPA, Mark (MK1)             0.20 $535.00      $107.00
                 Technical review of 2019 Partnership Tax Return

      0-30             31-60              61-90            91-120             Over 120            Balance
    $983.50            $0.00              $0.00             $0.00             $1,042.68          $2,026.18

  INVOICES ARE PAYABLE UPON RECEIPT. FINANCE CHARGES WILL BE ASSESSED ON BALANCES
                                 OVER 60 DAYS OLD.

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                                                                                      Exhibit A, Page 17
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DUFFY KRUSPODIN, LLP              #:6977
Oasis Studio Rentals 2, LLC
Invoice No. 433161                                                          Page No. 2


    08/24/2020   ASSEMBLY                   Quick, Joseph                     0.40 $105.00       $42.00
                 Assembled 2019 income tax return

    09/14/2020   EFILE                      Griner, Patti                     0.20 $195.00       $39.00
                 ACKNOWLEDGEMENTS
                 Process efile

    09/14/2020   EFILE                      Griner, Patti                     0.10 $195.00       $19.50
                 ACKNOWLEDGEMENTS
                 Efile acceptance

                                                  Subtotal for: OASIS STUDIO RENTALS 2, LLC     $983.50

                                                                               Invoice Total:   $983.50




      0-30             31-60           61-90                91-120     Over 120           Balance
    $983.50            $0.00           $0.00                 $0.00     $1,042.68         $2,026.18

  INVOICES ARE PAYABLE UPON RECEIPT. FINANCE CHARGES WILL BE ASSESSED ON BALANCES
                                 OVER 60 DAYS OLD.

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                                                                               Exhibit A, Page 18
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                                  #:6978




                                   21600 Oxnard Street, Suite 2000
                                   Woodland Hills, CA 91367-4969
                               PHONE: (818) 385-0585 FAX: (818) 436-7588


Oasis Studio Rentals 3, LLC                                     Date              11/30/2020
9339 Genesee Ave. Suite 130
San Diego, CA 92121

                                                                Invoice No.       433162
                                                                Client No.        OASI03




    Date         Service Code Name            Staff                                Hours       Rate   Amount

OASIS STUDIO RENTALS 3, LLC
   03/12/2020 EXTENSION OF TIME TO         Sawiris, Jackie                          0.20 $290.00       $58.00
              FILE
              Prepared and e-filed 2019 extension

    03/12/2020   ESTIMATED TAXES             Sawiris, Jackie                        0.20 $290.00       $58.00
                 Prepared and sent 2020 estimated tax voucher to client

    06/02/2020   TAX PREP -                 Sawiris, Jackie                         0.10 $290.00       $29.00
                 INTERVIEW/REQUEST
                 INFO
                 Correspondence regarding 2019 tax return

    08/20/2020   PARTNERSHIPS & LLC'S        Justl, CPA, Mike                       0.20 $185.00       $37.00
                 2019 Partnership Tax Return

    08/20/2020   PARTNERSHIPS & LLC'S        Justl, CPA, Mike                       0.20 $185.00       $37.00
                 2019 Partnership Tax Return

    08/20/2020   TAX REVIEW                   Cox, CPA, David (DC1)                 0.30 $415.00      $124.50
                 Review Tax Return

    08/21/2020   TAX REVIEW                   Cox, CPA, David (DC1)                 1.00 $415.00      $415.00
                 Review Tax Return

    08/22/2020   TAX REVIEW                   Kruspodin, CPA, Mark (MK1)            0.20 $535.00      $107.00
                 Technical review of 2019 Partnership Tax Return

      0-30             31-60              61-90            91-120             Over 120           Balance
    $966.00            $0.00              $0.00             $0.00             $956.52           $1,922.52

  INVOICES ARE PAYABLE UPON RECEIPT. FINANCE CHARGES WILL BE ASSESSED ON BALANCES
                                 OVER 60 DAYS OLD.

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                                                                                     Exhibit A, Page 19
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DUFFY KRUSPODIN, LLP              #:6979
Oasis Studio Rentals 3, LLC
Invoice No. 433162                                                          Page No. 2


    08/24/2020   ASSEMBLY                   Quick, Joseph                     0.40 $105.00       $42.00
                 Assembled 2019 income tax return

    09/14/2020   EFILE                      Griner, Patti                     0.20 $195.00       $39.00
                 ACKNOWLEDGEMENTS
                 Process efile

    09/16/2020   EFILE                      Griner, Patti                     0.10 $195.00       $19.50
                 ACKNOWLEDGEMENTS
                 Efile acceptance

                                                  Subtotal for: OASIS STUDIO RENTALS 3, LLC     $966.00

                                                                               Invoice Total:   $966.00




      0-30             31-60           61-90                91-120     Over 120           Balance
    $966.00            $0.00           $0.00                 $0.00     $956.52           $1,922.52

  INVOICES ARE PAYABLE UPON RECEIPT. FINANCE CHARGES WILL BE ASSESSED ON BALANCES
                                 OVER 60 DAYS OLD.

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